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                                                              Cynthia Alexander, William David McGinty, Washington
                   2025 WL 1803260
                                                              State Attorney General's Office, Olympia, WA, Kelsey
     Only the Westlaw citation is currently available.
                                                              Endres, Spencer Wade Coates, Office of the Attorney
      United States District Court, D. Rhode Island.
                                                              General, Seattle, WA, Sarah Rice, RI Department of Attorney
                                                              General, Providence, RI, for Plaintiff State of Washington.
  State of NEW YORK; State of Washington; State of
 Rhode Island; State of Arizona; State of California; State   Chandana Pandurangi, Dorothea Rose Calvano Lindquist,
  of Colorado; State of Connecticut; State of Delaware;       Kathryn M. Sabatini, Rhode Island Attorney General's Office,
   the District of Columbia; State of Hawai'i; State of       Providence, RI, Sarah Rice, RI Department of Attorney
  Illinois; State of Maine; State of Maryland; the People     General, Providence, RI, for Plaintiff State of Rhode Island.
   of the State of Michigan; State of Minnesota; State of
                                                              Alexa Gabriela Salas, Arizona Attorney General's Office,
    New Jersey; State of New Mexico; State of Oregon;
                                                              Phoenix, AZ, Sarah Rice, RI Department of Attorney
      State of Vermont; State of Wisconsin, Plaintiffs,
                                                              General, Providence, RI, for Plaintiff State of Arizona.
                               v.
     Robert F. KENNEDY, Jr., in his official capacity         Jeanelly Orozco Alcala, Crystal Adams, Jesse P. Basbaum,
     as Secretary of the U.S. Department of Health and        Kathleen Boergers, Virginia Corrigan, Office of the Attorney
      Human Services; U.S. Department of Health and           General Civil Rights Enforcement Section, Oakland, CA,
      Human Services; Susan Monarez, in her official          Neli Nima Palma, Office of the Attorney General,
                                                              Sacramento, CA, Panchalam Seshan Srividya, Office of the
     capacity as Acting Director, First Assistant to the
                                                              Attorney General, Public Rights Division, Los Angeles, CA,
     Director, Principal Deputy Director of the Centers
                                                              Sarah Rice, RI Department of Attorney General, Providence,
      for Disease Control and Prevention; Centers for
                                                              RI, for Plaintiff State of California.
    Disease Control and Prevention; Martin A. Makary
    in his official capacity as Commissioner of the U.S.      Tanya Wheeler, Colorado Department of Law, Denver, CO,
   Food and Drug Administration; U.S. Food and Drug           Sarah Rice, RI Department of Attorney General, Providence,
 Administration; Andrew Gradison, in his official capacity    RI, for Plaintiff State of Colorado.
  as Acting Assistant Secretary of the Administration for
                                                              Michael Kenneth Skold, State of Connecticut Office of the
    Children and Families; Administration for Children        Attorney General, Hartford, CT, Sarah Rice, RI Department
   and Families; Mary Lazare in her official capacity as      of Attorney General, Providence, RI, for Plaintiff State of
   Principal Deputy Administrator of the Administration       Connecticut.
      for Community Living; Arthur Kleinschmidt, in
     his official capacity as Principal Deputy Assistant      Sarah Rice, RI Department of Attorney General, Providence,
                                                              RI, for Plaintiffs State of Delaware, State of Illinois, State of
   Secretary of the Substance Abuse and Mental Health
                                                              Maryland, State of Wisconsin.
       Services Administration; Substance Abuse and
   Mental Health Services Administration, Defendants.         Andrew C. Mendrala, Office of the Attorney General for
                                                              the District of Columbia, Washington, DC, Sarah Rice, RI
               C.A. No. 25-cv-196-MRD-PAS
                                                              Department of Attorney General, Providence, RI, for Plaintiff
                             |
                                                              The District of Columbia.
                    Signed July 1, 2025
                                                              David Dana Day, Kalikoonalani Diara Fernandes, State of
Attorneys and Law Firms
                                                              Hawaii - Department of the Attorney General, Honolulu, HI,
                                                              Sarah Rice, RI Department of Attorney General, Providence,
Molly Thomas-Jensen, Andres Ivan Navedo, Jessica Ranucci,
                                                              RI, for Plaintiff State of Hawai'i.
Molly Brachfeld, Rabia Muqaddam, NYS Office of the
Attorney General, New York, NY, Sarah Rice, RI Department     Margaret Machaiek, Office of the Maine Attorney General,
of Attorney General, Providence, RI, for Plaintiff State of   Augusta, ME, Sarah Rice, RI Department of Attorney
New York.                                                     General, Providence, RI, for Plaintiff State of Maine.




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                                                                the District of Columbia challenge HHS's implementation
Danny Haidar, Neil Giovanatti, Michigan Department of           of its plans as a violation of the Administrative Procedure
Attorney General, Lansing, MI, Sarah Rice, RI Department        Act and the U.S. Constitution and asks this Court for a
of Attorney General, Providence, RI, for Plaintiff The People   preliminary injunction to halt the implementation of these
of the State of Michigan.                                       changes. Before reaching the requisite preliminary injunction
                                                                factors, the Court must resolve the threshold jurisdictional
Lindsey E. Middlecamp, Minnesota Attorney General's
                                                                challenges that the Agency raised in response to the plaintiffs’
Office, Saint Paul, MN, Sarah Rice, RI Department of
                                                                motion. This hodgepodge of challenges will be familiar to
Attorney General, Providence, RI, for Plaintiff State of
                                                                those who are tracking the dozens of cases around the country
Minnesota.
                                                                similarly challenging the Trump administration's efforts to
Jessica L. Palmer, Justine M. Longa, New Jersey Office of       reduce and reorganize the federal government.
the Attorney General, Department of Law and Public Safety,
Division of Law, Trenton, NJ, Sarah Rice, RI Department of      For the reasons stated below, this Court will grant the relief
Attorney General, Providence, RI, for Plaintiff State of New    the States have requested. To briefly summarize, the Court
Jersey.                                                         concludes that the States have standing to bring these causes
                                                                of action, see infra Part III(A), the claims were not subject
Astrid Carrete, New Mexico Department of Justice,               to channeling pursuant to the Civil Service Reform Act
Albuquerque, NM, Sarah Rice, RI Department of Attorney          (“CSRA”), see infra Part III(B), the States were not required
General, Providence, RI, for Plaintiff State of New Mexico.     pursuant to the Tucker Act to bring their claims in the
                                                                Court of Federal Claims, see infra Part III(C), and HHS's
Elleanor H. Chin, Oregon Department of Justice, Salem, OR,
                                                                announcement on March 27 represented final agency action
Sarah Rice, RI Department of Attorney General, Providence,
                                                                such that the Court can review the alleged violations of the
RI, for Plaintiff State of Oregon.
                                                                Administrative Procedure Act, see infra Part III(D)(1)(a)(i).
Ryan P. Kane, Attorney General's Office, Montpelier, VT,        With respect to the merits, the Court concludes the States have
Sarah Rice, RI Department of Attorney General, Providence,      shown a likelihood of success on their claims that the HHS's
RI, for Plaintiff State of Vermont.                             action was both arbitrary and capricious as well as contrary to
                                                                law. See infra Part III(D)(1)(b)(ii)-(iii). The Court declines to
Christopher R. Hall, Elizabeth Themins Hedges, DOJ-United       address the constitutional claims at this point. The Court also
States Attorney's Office, Washington, DC, for Defendants.       concludes that the States have sufficiently shown irreparable
                                                                harm, see infra Part III(D)(2), and that the balance of the
                                                                equities and the public interest weigh in their favor, see infra
            MEMORANDUM AND ORDER                                Part III(D)(3).

Melissa R. DuBose, United States District Judge.
                                                                I. BACKGROUND
 *1 Yet another group of plaintiffs seek relief from a
federal court to halt sweeping changes to a federal agency's       A. Separation of Powers
operations which they claim disregard congressionally           To properly set the scene for this case, the Court begins with
mandated programs to the detriment and peril of all who         a brief reminder about the bedrock doctrine of separation
live in the United States. The subject at the heart of this     of powers that governs the relationship between the Unites
controversy is the March 27, 2025 announcement from the         States’ three co-equal branches of government. This nation's
Department of Health and Human Services (“HHS” or “the          enduring founding document, the Constitution, categorically
Agency”) that HHS would: substantially cut the number           establishes the basic structure of government, the scope and
                                                                purview of each of the three co-equal branches, and manifests
of employees who work for its various sub-agencies, 1
                                                                a system in which each branch may serve as a check on and
reorganize its sub-agencies by closing some and consolidating
                                                                balance to the other two branches. This deliberate separation
others, reduce the number of regional offices around the
                                                                of powers is “evident from the Constitution's vesting of
country by half, and create a new division called the
                                                                certain powers in certain bodies.” Seila Law LLC v. Consumer
Administration for a Healthy America. The stated end goal
                                                                Fin. Prot. Bureau, 591 U.S. 197, 227 (2020). As relevant
is to Make America Healthy Again. Nineteen states and
                                                                here, the Constitution bestowed on Congress the power to


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create laws, U.S. Const. art. I, § 1, on the President the duty    not, without Congress, fundamentally reorganize the federal
to “take [c]are that the [l]aws be faithfully executed,” U.S.      agencies is not controversial: constitutional commentators
Const. art. II, § 3, and on the judiciary the responsibility for   and politicians across party lines agree.” (citation omitted)).
interpreting the laws when a dispute over the meaning and
application is properly brought to its bench, see U.S. Const.
art. III, § 2; Massachusetts v. Mellon, 262 U.S. 447, 488             C. HHS
(1923). The founders carefully constructed this democratic         The structure and purview of the agency we know as HHS
system to prevent the concentration of power in one part of the    has evolved since its initial inception. As summarized by
government. See New York v. Trump, 769 F. Supp. 3d 119, 128        the plaintiffs, in 1939, Congress promulgated legislation
(D.R.I. 2025) (citing Marbury v. Madison, 5 U.S. 137, 177-78       which redistributed the functions of existing agencies and
(1803); Mellon, 262 U.S. at 488; Clinton v. City of New York,      newly created agencies so that health, education, and social
524 U.S. 417, 450 (1998) (Kennedy, J., concurring)). With          insurance would be governed by a newly titled “Federal
these basic constitutional and jurisprudential nuts and bolts in   Security Agency.” Compl. ¶ 44 (ECF No. 1). In 1953,
place, the Court moves on to the matter at hand.                   Congress created a cabinet-level Department of Health,
                                                                   Education, and Welfare. Id. ¶ 45. Later, Congress removed
                                                                   education from this department and, in 1979, created a
   B. Executive Action                                             standalone Department of Education. The remaining agency
 *2 The current head of the executive branch has articulated       was renamed the Department of Health and Human Services.
several priorities as part of his policy objectives; one           Id. ¶ 46. At the end of 2024, HHS employed approximately
being shrinking the size of many executive agencies. See           82,000 people and was responsible for twenty-six percent of
“Commencing the Reduction of the Federal Bureaucracy,”             all federal spending. Id. ¶¶ 48-49.
The White House, Feb. 19, 2025, https://perma.cc/
UME8-5A9K. Federal courts around the country have                  On March 27, 2025, HHS published a communication
been asked via motions for injunctive relief to make               titled “HHS Announces Transformation to Make America
constitutional gut checks of the Trump administration's            Healthy Again” (the “March 27 Communiqué”). Id. ¶ 67,
actions in furtherance of this objective. Throughout this bevy     Ex. 1. According to this document, and in lockstep with
of litigation, the division of power between the executive         President Trump's Executive Order 14210 (“Implementing
branch and legislative branch with respect to the structure        the President's ‘Department of Government Efficiency’
and function of executive agencies has been much discussed.        Workforce Optimization Initiative”), HHS planned to
As one district court currently adjudicating a challenge to the    implement a RIF of 10,000 full-time employees, “streamline
reductions-in-force (“RIF(s)”) and planned reorganizations         the functions” of HHS by consolidating 28 divisions down
in several federal agencies summarized, part of Congress’          to 15 divisions, collapsing 10 regional offices into 5 regional
legislative power is to establish offices and determine each       offices, and creating a new division called Administration
office's function and jurisdiction. See Am. Fed'n of Gov't         for a Healthy America (“AHA”). Id. ¶ 67, Ex. 1. On April
Emps., AFL-CIO v. Trump, No. 25-cv-3698-SI, 2025 WL                1, HHS sent notices to 10,000 employees, informing them
1482511, at *16 (N.D. Ca. May 22, 2025) (citing Myers              that HHS had placed them on administrative leave and that
v. United States, 272 U.S. 52, 129 (1926); Free Enter.             their terminations would become final on June 2, 2025. Id.
Fund v. Public Co. Accounting Oversight Bd., 561 U.S.              ¶¶ 85-86. These employees were immediately locked out of
477, 500 (2010)). “Administrative agencies are creatures of        their email accounts and no longer had access to HHS-issued
statute. They accordingly possess only the authority that          laptops, offices, and buildings. Id. ¶ 88.
Congress has provided.” Nat'l Fed'n of Indep. Bus. v. Dep't
of Lab., Occupational Safety & Health Admin., 595 U.S. 109,        HHS Secretary Robert F. Kennedy, Jr. initially declined an
117 (2022). “While ‘the President may create, reorganize,          invitation to appear before the U.S. Senate Committee on
or abolish an office that he established,’ the Constitution        Health, Education, Labor, and Pensions (“HELP Committee”)
does not authorize him ‘to enact, to amend, or to repeal           to discuss the HHS reorganization, but opted instead to speak
statutes.’ ” Am. Fed'n of Gov't Emps., 2025 WL 1482511,            to the media. Id. ¶¶ 89-91. Secretary Kennedy told reporters
at *16 (quoting Clinton, 524 U.S. at 438). Indeed, “the            that he and other administration officials knowingly took
President may broadly restructure federal agencies only            an approach to the HHS restructuring that would generate
when authorized by Congress.” Id. at *17; see also id.             mistakes. Id. ¶ 90. From the outset, Kennedy expected 20%
at *18 (“The simple proposition that the President may             of the cut employees would need to be reinstated, with


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the Centers for Disease Control and Prevention (“CDC”)’s          Approximately 2,500 miles west of West Virginia, a group of
Lead Poisoning Prevention and Surveillance Branch being an        unions, nonprofits, and a local government sought relief in
example of the foreseeable mistakes known within a couple of      the Northern District of California from twenty-two agencies
days of the March 27 Communiqué. Id. In an interview with         (including HHS). Am. Fed'n of Gov't Emps., 2025 WL
CBS News on April 9, 2025, Secretary Kennedy explained            1482511, at *3. These plaintiffs challenged the Agency RIF
that undertaking a close examination of employees’ job            and Reorganization Plans (“ARRPs”) submitted to the Office
responsibilities before issuing the termination notices “takes    of Management and Budget and the Office of Personnel
too long” and would result in the loss of the opportunity         Management pursuant to Executive Order 14210 and a
to capitalize on “political momentum.” Id. ¶ 91. On May           related memo, which had been partially implemented in those
14, Senator Kennedy made his first appearance before the          agencies. Id. On Thursday, May 22, that court preliminarily
Senate's HELP Committee and testified that he and his             enjoined the agency defendants in that case (including, as
colleagues “had to act quickly so that we could do something      directly relevant to this case, HHS) from, among other
for the American people that is lasting.” Brachfeld Decl. ¶ 5     things, “execut[ing] any existing RIF notices (including final
(ECF No. 55). “[I]t was more important to do decisive action      separation of employees)” or “implement[ing]” any ARRPs.
quickly.” Id. Even though he and his colleagues “understood       Id. at *27. The order also commanded the agency defendants
that there would be some mistakes made,” they “would              to “rescind any RIFs issued pursuant to Executive Order
go back and reverse them when they were made.” Id. For            14210 and ... transfer any federal employees who were moved
example, HHS revoked 300 RIF notices sent to employees            into administrative leave status to effectuate Executive Order
of one sub-agency, the National Institute for Occupational        14210 back to the status they held prior to being placed on
Safety and Health (“NIOSH”). Howard Decl. ¶ 3 (ECF No.            such leave” but stayed this part of the injunction order “for
53). More recently, HHS rescinded RIF notices for 467             the duration of any appeal of th[e] injunctive order.” Id. at
employees across the CDC's Office of the Director, National       *28. The agency defendants have indeed filed an appeal with
Center for Environmental Health, National Center for HIV,         the Ninth Circuit Court of Appeals, which recently denied
Viral Hepatitis, STD, and TB Prevention, and Global Health        defendants motion to stay the injunction pending appeal. See
Center. Patterson Decl. ¶ 4 (ECF No. 70-1).                       Am. Fed'n of Gov't Emps. v. Trump, No. 25-3293, ––– F. Supp.
                                                                  3d ––––, 2025 WL 1541714, at *2 (9th Cir. May 30, 2025).
                                                                  The federal agencies have sought the same emergency relief
   D. Pending Federal Cases in Other Jurisdictions                at the U.S. Supreme Court, which is currently pending. See S.
 *3 Relatedly, federal district courts have partially             Ct. Dkt. 24A1174.
adjudicated at least two cases arising from HHS's
reorganization actions. In the Southern District of West
Virginia, a coal mine electrician with decades of experience         E. This Case
in the coal mines and a recent diagnosis of the dreaded black     Shifting focus to the immediate cause of action in this Court,
lung sued Secretary Kennedy and HHS on behalf of himself          the States filed this case on May 5, 2025 against HHS, its
and others similarly situated to challenge the shuttering of      Director, and several principal administrators of various HHS
NIOSH's Coal Workers Health Surveillance Program through          sub-agencies. The States allege that HHS's mass terminations
the RIF announced on March 27 and implemented on April            and agency reorganization are unlawful in five ways: (1)
1. Wiley v. Kennedy, C.A. 2:25-cv-227, 2025 WL 1384768,           a Violation of the Separation of Powers Doctrine because
at *1-2 (S.D.W.V. May 13, 2025). On Tuesday, May 13,              these actions usurp legislative authority, U.S. Const. art. I, §
that court granted a preliminary injunction ordering that “the    1, art. II, § 3; (2) a Violation of the Appropriations clause,
RIFs in the NIOSH Respiratory Health Division be enjoined         U.S. Const. art. I, § 9, cl. 7; (3) the Defendants’ conduct
and, therefore, rescinded to facilitate the full restoration of   is ultra vires because it is “outside the scope of statutory
the NIOSH Respiratory Health Division” and that further           authority conferred on the Executive” (title caps omitted); (4)
efforts to reorganize may not include any “pause, stoppage        a Violation of the Administrative Procedures Act as contrary
or gap in the protections and services mandated by Congress       to law, 5 U.S.C. § 706(2)(B)-(C); and (5) a Violation of the
in the [Federal Mine Safety and Health Act of 1977] and the       Administrative Procedure Act as arbitrary and capricious, 5
attendant regulations for the health and safety of miners.” Id.   U.S.C. § 706(2)(A). Compl. at 87-96.
at *13.
                                                                  The States filed a Motion for Preliminary Injunction on May
                                                                  9, asking this Court to enjoin the terminations and agency


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restructuring as announced in the March 27 Communiqué at,                  arguments HHS raises. HHS argues that the States lack
specifically, the CDC, the FDA's Center for Tobacco Products               Article III standing (ECF No. 52 at 12-22), that the Civil
(“CTP”), the Office of Head Start and Head Start employees                 Service Reform Act (“CSRA”) and the Federal Service
in Regional Offices, and the Office of the Assistant Secretary             Labor-Management Relations Statute (“FSL-MRS”) require
for Planning and Evaluation (“ASPE”). Pl.’s Mot. For Prelim.               the States to channel their claims to the Merit Systems
Inj. (ECF No. 43 at 2, 6-21). HHS, in opposition, raises                   Protection Board (“MSPB”) and/or the Federal Labor
several jurisdictional issues, Mem. in Opp'n (ECF No. 52),                 Relations Authority (“FLRA”) (ECF No. 52 at 22-26), and
to which the States replied, Reply Br. (ECF No. 54). The                   that the Tucker Act requires the case to be filed in the Court of
Court held a hearing on May 20 and took the motion under                   Federal Claims (ECF No. 52 at 20-21). The Court addresses
advisement.                                                                each argument in turn.


II. STANDARD                                                                  A. Standing
 *4 “A request for a preliminary injunction ... may be granted             HHS argues that the States lack standing to bring this suit
only if ‘the district court finds that ... four ... factors ... weigh in   because they lack cognizable injuries related to their alleged
favor of granting the request.’ ” Cushing v. Packard, 30 F.4th             informational and tangible service injuries. ECF No. 52 at
27, 35 (1st Cir. 2022) (quoting Comcast of Me./N.H., Inc. v.               13-20. They also argue that there is a redressability problem
Mills, 988 F.3d 607, 611 (1st Cir. 2021)). The factors are:                with respect to the harms related to grants or delays in funding
“(1) the movant's likelihood of success on the merits; (2) the             for state programs. Id. at 14, 20-22. For the reasons described
likelihood of the movant suffering irreparable harm; (3) the               below, the Court rejects HHS's arguments and concludes that
balance of equities; and (4) whether granting the injunction               the States have established Article III standing.
is in the public interest.” Id. (quoting Comcast of Me./N.H.,
Inc., 988 F.3d at 611). “[T]hese four elements are not of                  Preliminarily, it is important to note that the Court need not
equal prominence in the preliminary injunction calculus. The               examine standing for each State since they are collectively
most important is whether the movant has demonstrated a                    seeking the same injunctive relief. See Carey v. Population
likelihood of success on the merits,” a factor that the Circuit            Srvs., Intern., 431 U.S. 678, 682 (1977) (finding that one
makes clear is indispensable to “the preliminary injunction                plaintiff “ha[d] the requisite standing and therefore hav[ing]
inquiry.” Akebia Therapeutics, Inc. v. Azar, 976 F.3d 86, 92               no occasion to decide the standing of the other [plaintiffs].”);
(1st Cir. 2020) (citing Ryan v. ICE, 974 F.3d 9, 18-19 (1st                Project B.A.S.I.C. v. O'Rourke, 907 F.2d 1242, 1244 (1st Cir.
Cir. 2020)). To meet this factor, “plaintiffs must show ‘more              1990) (finding that one plaintiff had standing so the court
than mere possibility’ of success—rather, they must establish              did “not consider whether [other plaintiffs] ha[d] standing as
a ‘strong likelihood’ that they will ultimately prevail.”                  well.”); Am. Fed. of Gov't Emps. v. Trump, No. 25-cv-3698,
Sindicato Puertorriqueno de Trabajadores v. Fortuño, 699                   2025 WL 1358477, at *7 (N.D. Cal. May 9, 2025) (“AFGE”)
F.3d 1, 10 (1st Cir. 2012) (per curiam) (quoting Respect                   (stating that “[a]s a general rule, in an injunctive case this
Maine PAC v. McKee, 622 F.3d 13, 15 (1st Cir. 2010)). That                 court need not address standing of each plaintiff if it concludes
said, the court “need not conclusively determine the merits                that one plaintiff has standing”)
of the underlying claims.” Akebia Therapeutics, 976 F.3d at
93 (quoting Ross-Simons of Warwick, Inc. v. Baccarat, Inc.,                To establish standing to sue, the States must show an injury
102 F.3d 12, 16 (1st Cir. 1996)). The court's “decisions ‘are              that is traceable to HHS's conduct and prove that the injury
to be understood as statements of probable outcomes’ only.”                is redressable by this Court. Lujan v. Defs. of Wildlife,
Id. (quoting Narragansett Indian Tribe v. Guilbert, 934 F.2d               504 U.S. 555, 560-61 (1992). The injury suffered must be
4, 6 (1st Cir. 1991)). In addition, when the government is the             “concrete and particularized,” and “actual or imminent,” not
opposing party, the third and fourth factors merge and are                 “conjectural or hypothetical.” Id. (internal citations omitted).
considered together. Does 1-6 v. Mills, 16 F.4th 20, 37 (1st               “At the preliminary injunction stage ... [the States] must
Cir. 2021) (citing Nken v. Holder, 556 U.S. 418, 435 (2009)).              make a ‘clear showing’ that [they are] ‘likely’ to establish
                                                                           each element of standing.” Murthy v. Missouri, 603 U.S.
                                                                           43, 58 (2024) (quoting Winter v. Natural Resources Defense
III. DISCUSSION                                                            Council, Inc., 555 U.S. 7, 22 (2008)). When “risk of future
Before the Court dives into the States’ likelihood of success              harm” is asserted, as it is here, the harm “must be sufficiently
on the merits, it must address the three jurisdictional                    imminent and substantial.” Nat'l Ass'n of Gov't Emps., Inc.


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v. Yellen, 120 F.4th 904, 910 (1st Cir. 2024) (quoting Roe v.      System (“PRAMS”) which saw its fifteen-person team
Healey, 78 F.4th 11, 20 (1st Cir. 2023)). “This standard is        put on administrative leave. Id. at 17. PRAMS, as part
satisfied if the threatened injury is certainly impending, or      of a larger effort towards “Safe Motherhood,” 2 “is a
there is a substantial risk that harm will occur.” Id. (internal   joint surveillance project that collects data nationwide on
quotations and citation omitted).                                  individuals’ experiences during pregnancy, delivery, and
                                                                   postpartum.” Id. at 18; ECF Nos. 44-25 at ¶ 9; 44-27 at ¶
 *5 When the question requires the Court to decide “whether        4. DRH collected survey data from PRAMS partners and
an action taken by one of the other two branches of Federal        CDC experts were responsible for maintaining, extracting,
Government was unconstitutional” then the standing inquiry         cleaning, and weighting the data submitted. ECF Nos. 43
is “especially rigorous.” Clapper v. Amnesty Intern. USA, 568      at 18; 44-25 at ¶ 10; 44-27 at ¶ 5; 44-29 at ¶ 6; 44-50
U.S. 398, 408 (2013) (quoting Raines v. Byrd, 521 U.S. 811,        at ¶ 5. The States rely on this data for “program planning,
819-20 (1997)). That is certainly the case here.                   policy development, and overall decision-making regarding
                                                                   maternal and infant health.” ECF Nos. 43 at 18; 44-24 at ¶
The States assert myriad injuries that they claim are either       9. However, since the release of the March 27 Communiqué,
already occurring or present a risk of future harm based           “the PRAMS Integrated Data Collection System is now
on the RIFs that were scheduled to take effect on June             offline indefinitely and no new data is being collected.” ECF
2, 2025. (ECF No. 43 at 14-29; ECF No. 54 at 13-14).               Nos. 43 at 19; 44-25 at ¶ 24; 44-26 at ¶ 18; 44-28 at ¶ 20.
Before analyzing whether the asserted harms are concrete
and particularized, actual and imminent, and sufficiently           *6 The CDC also houses the NIOSH, which was created
imminent and substantial, the Court finds it worthwhile to         “to address and prevent work-related injury and illness across
layout examples of the States’ uncontroverted injuries as to       all types of workplaces, including mines, fire departments,
each agency/program for which injunctive relief is sought.         oil and gas wells, construction sites, small businesses, and
                                                                   hospitals.” See 29 U.S.C. § 651 et seq.; ECF Nos. 43 at
                                                                   20; 44-47 at ¶ 4. It is worth noting the sole declaration
           Centers for Disease Control (“CDC”)                     HHS submitted in support of its opposition to the motion
                                                                   for preliminary injunction was from NIOSH's director, “who
The States describe a symbiotic relationship between               oversee[s] all of NIOSH's activities.” ECF No. 53 at ¶ 1. The
themselves and the CDC. They rely on the CDC's infectious          States allege 90% of NIOSH's employees “received either
disease laboratories for “an array of services, including:         Notices of RIF or Notice of Intent to RIF,” including its
(1) diagnostic testing for rare and complex diseases,              director, the declarant Dr. John J. Howard. ECF Nos. 1 at
(2) susceptibility to an antibacterial resistance testing for      ¶ 136; 43 at 21. Dr. Howard's declaration states that more
infectious diseases, (3) developing new diagnostic tools for       than three hundred RIF notices have been revoked, but that
[sexually transmitted infections] to address rising cases of       is still less than half of the “[a]pproximately 873 NIOSH
reportable STIs ..., (6) on-the-ground support for outbreak        employees ... [who] received termination notices” which were
response ...,” and surveillance, training, and coordinated         slated to take effect on June 2, 2025 or July 2, 2025. ECF
national guidance on a number of important public health           Nos.1 at ¶ 136; 53 at ¶¶ 2-3. This large and quick reduction
issues. ECF Nos. 43 at 14-15; 44-20 at ¶¶ 13-20; 44-21 at          of staff, the States argue, will continue to exacerbate the
¶¶ 11, 22; 44-22 at ¶ 7; 44-23 at ¶¶ 9-11; 44-24 at ¶ 11;          issues and interruptions to NIOSH's many programs. See ECF
44-25 at ¶¶ 13, 15. Since the March 27 Communiqué, these           No. 43 at 22-25 (providing, as an example, “the Northwest
“public health services, including CDC laboratories and other      Center for Occupational Health and Safety at the University
resources” have been discontinued, imperiling the health and       of Washington” being told by a CDC grant specialist on May
safety of state residents. ECF No. 54 at 13. The States “have      2, 2025 that “at the present there is a pause on all NIOSH
tried to close the gaps created by the shuttered laboratories,”    activities”).
but “some gaps cannot be filled.” ECF No. 43 at 16.

The March 27 Communiqué also affected the Division
                                                                              Center for Tobacco Products (“CTP”)
of Reproductive Health (“DRH”) which operates within
the CDC. One program that was severely impacted                    The States also describe injuries flowing from the March
by the Communiqué is the Pregnancy Risk Monitoring                 27 Communiqué’s impact to CTP. This agency is statutorily


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obligated “to inform the public of any dangers to human             injuries, tangible-service related injuries, and grant related
health presented by cigarette smoking.” 15 U.S.C. § 1341.           injuries. ECF No. 52 at 13-14. The Court agrees that some
Specifically, the States allege that CTP stopped performing         of the injuries suffered by the States can be classified as
compliance checks to ensure tobacco products are not sold to        informational injuries, which the Supreme Court has said can
minors, a function on which the States relied. ECF No. 43 at        be concrete informational injury, so long as plaintiffs have
25-26. The Director of the Michigan Department of Health            a legal right to the information and can show “downstream
and Human Services (“MDHHS”), for example, asserts that             consequences.” TransUnion LLC v. Ramirez, 594 U.S. 413,
“[t]he functional elimination of these two subagencies will         441-42 (2021). In TransUnion, the Supreme Court declined
lessen MDHHS's ability to protect its citizens, especially its      to find standing based on plaintiff's informational injuries
youth, from the dangers of smoking and tobacco products.”           – incorrect information on a credit report that was never
ECF No. 44-59 at ¶¶ 1, 48.                                          sent out – because they failed to identify “downstream
                                                                    consequences from failing to receive the information.” Id. at
                                                                    441. It reasoned that “[a]n asserted information injury that
                                                                    causes no adverse effects cannot satisfy Article III.” Id. at
               Office of Head Start (“OHS”) 3                       442 (internal quotation omitted). Compare this with Fed.
                                                                    Election Comm'n v. Akins, where the Supreme Court found
The States also argue the March 27 Communiqué impacted
                                                                    an informational injury sufficient to confer standing. 524 U.S.
OHS to the point that its grantees “were thrown into ‘chaos.’
                                                                    11, 12 (1998). There, a group of voters sued the Federal
” ECF No. 43 at 27 (quoting ECF No. 44-39 ¶ 25). Services
                                                                    Election Commission (“FEC”) for not providing information
that the States once utilized, such as technical assistance, site
                                                                    they believed they were entitled to under a federal law. Id. at
visits, and grant oversight activities, have disappeared. ECF
                                                                    24-25.
No. 44-38 at ¶ 29. The States argue that they faced delays in
receiving notifications of funding, that OHS provided little
                                                                     *7 Here, the States have identified statutes that require
to no information about regional realignments and have left
                                                                    the Secretary of HHS and the HHS sub-agencies under his
critical questions unanswered. ECF No. 43 at 27. States were
                                                                    control to make information available to the public and to
also not provided any advanced notice that the entire Division
                                                                    the States. This is similar to the situation in Akins where the
of State Systems, which state agencies and their child welfare
                                                                    Supreme Court found that a group had standing to sue the
systems rely on, would be subject to the RIF. Id.
                                                                    FEC based on a federal statute. See id. Take, for example,
                                                                    PRAMS data which the States say is “offline.” ECF No.
                                                                    54 at 13 n.7. PRAMS was “carried out through cooperative
             Office of the Assistant Secretary for                  agreements between CDC and participating public and private
            Planning and Education (“ASPE”) 4                       health organizations, including state departments of health,”
                                                                    but the States claim that “no employees remain to maintain
Last, the States assert that the March 27 Communiqué has            the system, analyze birth year 2024 data, or collect birth year
impacted ASPE which is charged with updating the federal            2025 data from the states.” ECF No. 43 at 18; ECF No.
poverty guidelines each year. Id. at 28. The ASPE webpage           54 at 13 n.7. The Defendants acknowledge that the required
currently displays the message “[d]ue to current HHS                PRAMS information has been “delayed or not provided at this
restructuring, the information provided on aspe.hhs.gov is not      time,” but argue that this lapse does not amount to a “refusal
being updated currently.” https://perma.cc/VZ6B-MFA3. The           to provide statutorily mandated [information].” ECF No. 52
States further highlighted that the entire team responsible for     at 15. The Court is not persuaded by this argument because
updating the federal poverty guidelines was placed on leave         not only is the data not being collected and analyzed, but the
after RIF notices issued which could impact the guideline           CDC has removed all historical data from 1988-2023, so it
calculations moving forward. 5 ECF No. 43 at 27-28.                 cannot currently be used by policymakers and researchers.
                                                                    ECF No. 55-4 at ¶ 17. This lack of information has clear
With these examples of the States alleged injuries laid out, the    “downstream consequences” for the States. TransUnion, 594
Court will turn to the standing elements.                           U.S. at 441-42. The Court concludes, therefore, that these
                                                                    informational injuries are concrete and particularized for
HHS categorizes these harms, as well as those described in the      purposes of Article III standing.
other declarations submitted by the States, as informational



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The Court is also persuaded that the States have alleged           “sufficiently imminent and substantial” risk of future harm
other concrete and particularized harm. These injuries are         based on the June 2 and July 2 RIFs. Murthy, 603 U.S. at
referred to by HHS as a “more tangible services-related            58; Yellen, 120 F.4th at 910. Certainly, if the States have
theory” of injury. ECF No. 52 at 13. For example, the Director     been experiencing harm since the RIFs went out in April,
of Northwest Center for Occupational Health and Safety             it is reasonably foreseeable that the harm will continue, and
(“NWCOHS”) discusses how the CDC has been unable to                likely worsen, once the RIFs take effect, staff are laid off,
process a no-cost grant extension for the organization and that    and more services are discontinued, whether temporarily or
his attempts to contact someone at the CDC led to a grant          permanently. The Court is satisfied that the States’ alleged
specialist informing NWCOHS that “at the present time there        injuries are actual and imminent.
is a pause on all NIOSH activities.” ECF No. 44-31 at ¶¶
15-20. This unprocessed grant extension has already led to          *8 In addition to injury, the States must establish traceability
disruptions at NWCOHS, including cancelled grant renewal           and redressability to establish Article III standing. The
meetings, inability “to provide funded offers of admission         unrebutted evidence the States submitted in support of their
for trainees,” and a decrease in the number of occupational        motion for preliminary injunction clearly establishes that the
medicine residents admitted for 2025-2026. Id. ¶ 21. Further,      States began experiencing harm almost immediately after the
the States relied on CDC labs for infectious disease and STD/      publication of the March 27 Communiqué and the subsequent
STI confirmatory testing, which is no longer being conducted,      RIF notices issued to HHS employees. The Court is satisfied
requiring the States to now rely on a single lab in New York.      that the alleged injuries are traceable to HHS's conduct.
ECF No. 44-20 at ¶¶ 29-31. This has “strained the [lab's]          With respect to redressability, HHS mainly argues that any
resources.” Id. ¶ 31. These types of monetary and “tangible-       redressability should be limited and not far reaching, not that
service” harms are undoubtedly concrete and particular. See        the issuance of an injunction would fail to redress the States’
Webb v. Injured Workers Pharmacy, LLC, 72 F.4th 365, 372           asserted harms. 6 ECF No. 52 at 19. For purposes of standing,
(1st Cir. 2023) (affirming the principle on monetary harms         the Court finds that the States’ injuries could be redressed by
outlined in TransUnion that “[i]f a defendant has caused ...       this Court and is satisfied that the States have standing to bring
monetary injury to the plaintiff, the plaintiff has suffered a     this cause of action.
concrete injury in fact under Article III” (citing TransUnion
LLC, 594 U.S. at 425)). Again, this is just one of the many
harms described by the States and for purposes of this analysis       B. CSRA
at this stage, the Court finds the States have satisfied the       Moving on, the Defendants’ next jurisdictional argument is
concrete injury-in-fact requirement of standing.                   that the Court “lacks jurisdiction to adjudicate plaintiffs’
                                                                   challenges to the employment decisions of federal agencies.”
The next part of the standing inquiry is whether the States’       ECF No. 52 at 22. They suggest that the CSRA and FSL-
injuries are actual and imminent and, because “risk of future      MRS require the States’ claims to be channeled through
harm” is asserted, the Court will simultaneously determine         administrative forums. Id. The Court is required to analyze
if those harms are “sufficiently imminent and substantial.”        the Thunder Basin factors to determine if the States’ claims
Yellen, 120 F.4th at 910. “This standard is satisfied if           “are of the type Congress intended to be reviewed within
the threatened injury is certainly impending, or there is a        this statutory structure.” Thunder Basin Coal Co. v. Reich,
substantial risk that harm will occur.” Id. (internal quotations   510 U.S. 200, 212-13 (1994). To that end, this Court must
and citation omitted). The States’ declarations describe the       analyze (1) whether the claims are “wholly collateral to
current harms individual programs and offices have been            a statute's review provisions,” (2) whether the issues are
facing since the RIFs issued and staff was placed on leave at      “outside the agency's expertise,” and (3) whether a “finding
the beginning of April. For example, one declarant who was         of preclusion could foreclose all meaningful judicial review.”
employed by DRH stated that “[t]he April 1 RIFs have had an        Id. “When the answer to all three questions is yes, ‘we
especially damaging effect on DRH surveillance systems. By         presume that Congress does not intend to limit jurisdiction’ ”
eliminating the Women's Health and Fertility Branch, long-         to administrative, rather than judicial, fora. Axon Enter., Inc.
standing activities ceased that are vital ... PRAMS data for       v. Fed. Trade Comm'n, 598 U.S. 175, 186 (2023) (quoting
2025 births is not being collected ... and historical data from    Free Enter. Fund, 561 U.S. at 489). To examine this argument,
1988-2023 are on longer available from CDC.” ECF No. 55-4          the Court looks to the First Circuit's brief discussion of the
at ¶ 17. The declarations also make a “clear showing” of           issue in Somerville Pub. Schools v. McMahon, 139 F.4th



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63, 71-72 (1st Cir. 2025), as well as the Ninth Circuit's          constitutional challenges are more “structural constitutional
reasoning and conclusion in Am. Fed'n of Gov't Emps., 2025         challenges” than challenges to the decisions stemming from
WL 1541714, at *3-5 (both cases denying motions to stay the        the employment relationship. Id. HHS also relies on the
grant of preliminary injunctive relief), and concludes that the    Supreme Court's decision in Elgin to seemingly argue that
States were not required to channel their claims through an        the States’ claims are intertwined with areas of agency
administrative forum.                                              expertise. ECF No. 52 at 23-24; Elgin v. Dept. of Treasury,
                                                                   567 U.S. 1 (2012). Elgin involved plaintiffs who sued in
Beginning with whether the States’ claims are “wholly              district court after they were discharged for failing to register
collateral to [the CSRA's] review provisions,” the Court finds     for Selective Service. Elgin, 567 U.S. at 7-8. The employees
that the APA and constitutional claims the States alleged in       challenged the constitutionality of the law that was relied
this case fall outside the CSRA's provisions. See Thunder          on to fire them, and the Supreme Court found the CSRA
Basin Coal Co., 510 U.S. at 212-13. In addition, the claims        precluded district court jurisdiction because “[i]n sum ...
are clearly outside the purview of the MSPB, which “reviews        they are covered employees challenging a covered adverse
claims by federal employees arising out of specific adverse        employment action.” Id. at 21. The focus of this case is on the
actions taken against them by their employer,” and FLRA,           March 27 Communiqué’s effect on HHS's ability to perform
which “reviews ‘issues relating to the duty to bargain in          the duties it was Congressionally created to carry out. It is
good faith’ and unfair labor practices.” Am. Fed'n of Gov't        not on why or how employees were fired, or within MSPB or
Emps., 2025 WL 1541714, at *3 (citing 5 U.S.C. §§ 7105(a)          FLRA's areas of expertise. The States’ APA and constitutional
(2), 7117, 7118). The Defendants argue that the “[States]          challenges, here, are “ill suited” for an “agency adjudication.”
cannot step into the shoes of those employees and assert           See Carr, 593 U.S. at 92.
claims against the Department that the employees cannot
themselves assert in federal district court,” ECF No. 52 at        Lastly, the Court must consider whether channeling the
23, but that is not the case here and represents an incorrect      States’ claims “could foreclose all meaningful judicial
reading of the asserted claims. In rejecting the channeling        review.” Thunder Basin Coal Co., 510 U.S. at 212-13.
argument, the First Circuit noted it was “loath at this juncture   Channeling the claims would be meaningless when “entire
of the proceedings to” agree with the federal government           offices and functions are being eliminated from federal
in finding “that Congress intended to bar every challenge          agencies.” Am. Fed'n of Gov't Emps., 2025 WL 1541714,
to an unlawful effort by the Executive to shut down a              at *5. To reiterate, the States’ challenge to the March
statutorily created agency by summarily firing its employees       27 Communiqué was brought because critical services and
en masse[.]” Somerville Pub. Schools, 139 F.4th at 71. The         information were impacted by the RIFs. This Court sees little
harms suffered by the States relate to the sudden cessation of     to no value in requiring employees to bring individual claims
critical services and information sharing, not to any specific     about their employment status to MSPB or FLRA while the
employee or their employment situation. Indeed, these two          States continue experiencing harm to critical services. In this
are intertwined because the reason the States have suffered        scenario, “[e]ven successful Plaintiffs ‘would return to an
the harm is the March 27 Communiqué and subsequent RIF             empty agency with no infrastructure to support a resumption
of nearly 10,000 workers. Importantly, the States’ claims          of their work.’ ” Id. (quoting Am. Fed'n of Gov't Emps.,
do not pertain specifically to those workers’ employment           2025 WL 1482511, at *14). Channeling the States’ claims to
relationships or unfair labor practices. The States’ claims        administrative fora would indeed “foreclose all meaningful
are, therefore, “wholly collateral to [the CSRA's] review          judicial review.” Thunder Basin Coal Co., 510 U.S. at 212-13.
provisions.” Thunder Basin Coal Co., 510 U.S. at 212.
                                                                   To try and convince this Court otherwise, the Defendants
 *9 With respect to whether the issues are “outside the            cite to cases that they argue support channeling the APA
agencies expertise” (Thunder Basin factor #2), the Ninth           and constitutional claims to administrative agencies, but as
Circuit's explanation on why the MSPB and FLRA lack the            suggested by the States, those cases are easily distinguishable.
relevant expertise and jurisdiction to decide the claims is        See e.g., Roth v. United States, 952 F.2d 611, 614-15 (1st
instructive. That court turned to Carr, where the Supreme          Cir. 1991) (finding that the CSRA preempted former Federal
Court noted that “agency adjudications are generally ill           Aviation Administration employee's state law claim that her
suited to address structural constitutional challenges.” Carr      former supervisor made slanderous utterances that concerned
v. Saul, 593 U.S. 83, 92 (2021). The States’ APA and               former employee's job performance); Am. Fed'n of Gov't



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Emps., AFL-CIO v. Trump, 929 F.3d 748, 761 (D.C. Cir. 2019)       of the Early Hearing Intervention and Direction team was laid
(explaining “that the unions’ claims fall within the exclusive    off, and as a result ... the review of future grant applications
statutory scheme, which the unions may not bypass by filing       was on hold”).
suit in the district court.”). Those claims arose directly from
the employee-employer relationship, which is different than       The States suggest that their claims are more aligned with
this case. The Defendants also fail to address the recent,        the principles outlined in Bowen v. Massachusetts, 487 U.S.
and more factually similar, cases where courts have rejected      879 (1988), because the States are seeking an order setting
the Defendants’ channeling argument. See Somerville Pub.          aside unlawful agency action, not an order to require specific
Schools v. McMahon, No. CV 25-10601-MJJ, ––– F. Supp.             performance or compensation under any contract. In Bowen,
3d ––––, 2025 WL 1463009, at *19 (D. Mass. May 22, 2025)          the Supreme Court examined whether “a federal district court
(finding the CSRA inapplicable when “the magnitude and            ha[d] jurisdiction to review a final order of the Secretary
the proportion of the mass terminations accounting for 50%        of [HHS] refusing to reimburse a State for a category
of the Department's workforce has effectively incapacitated       of expenditures under its Medicaid program.” Id. at 882.
the department”); 7 Widakuswara v. Lake, No. 25-cv-1015,          In declining to apply the Tucker Act, the Supreme Court
––– F. Supp. 3d ––––, 2025 WL 1166400, at *10-11 (D.D.C.          analyzed the plain language of the APA and stated “two
April 22, 2025) (channeling not required when USAGM               reasons why the plain language of this amendment does not
staff were laid off and it caused the agency to “reach[ ] the     foreclose judicial review of the actions brought by the States
breaking point[.]”); Am. Fed'n of Gov't Emps., AFL-CIO v.         challenging the Secretary's disallowance decision.” Id. at 893.
United States Office of Personnel Mgmt., 771 F. Supp. 3d          First, the States sought declaratory and injunctive relief, “and
1127, 1136 (N.D. Ca. 2025) (originally finding no jurisdiction    more importantly, even the monetary aspects of the relief that
over the plaintiffs’ claims due to the CSRA, but finding that     the State sought are not ‘money damages’ as that term is used
channeling not required after the issue was fully briefed).       in the law.” Id. The Court went on to say, “[i]t seems perfectly
                                                                  clear that, as the reviewing court, the District Court had the
 *10 In all, the States’ claims are properly before this Court    authority to hold unlawful and set aside agency action that it
and were not subject to CSRA channeling.                          found to be not in accordance with law.” Id. at 911 (internal
                                                                  quotations omitted).

   C. Tucker Act                                                  The Court agrees and finds persuasive the States’ argument
The last jurisdictional argument the Defendants raise is          that “[t]he funding loss to Plaintiff States is caused by the
that the Tucker Act compels these claims to be in the             March 27 [Communiqué] not because the [Communiqué]
Court of Federal Claims. This argument is unavailing and          directly cut funding to the States, but because the
misconstrues the States’ arguments. The States’ claims do         [Communiqué] resulted in funding collapsing due to lack of
not relate to a breach of “any express or implied contract        staff.” ECF No. 54 at 15-16. The facts here fit squarely into
with the United States” which would require the claims            the reasoning in Bowen. Accordingly, the States’ claims are
to be heard in the Court of Federal Claims. 28 U.S.C. §           not of such a type that would require the States to seek relief
1491(a)(1). Further, the Defendants’ reliance on Dept. of         in the Court of Federal Claims. Simply put, the Tucker Act
Ed. v. California, 604 U.S. ––––, 145 S. Ct. 966, 968             plays no role here.
(2025) (per curiam), in which the Supreme Court stayed an
injunction and held that the Tucker Act would likely apply to
a lawsuit related to grant terminations, is misplaced because        D. Preliminary Injunction Factors
the States’ request is not that “the Government [ ] pay out        *11 Now that the Court has determined it has jurisdiction,
past-due grant obligations and to continue paying obligations     the Court can turn to the preliminary injunction factors.
as they accrue.” This case is not about grant contracts, it is
about HHS's inability to perform congressionally mandated
tasks during its restructuring, some of which relate to grant                1. Likelihood of Success on the Merits
administration. See, e.g., ECF No. 44-24 at ¶ 15 (“An email
was sent to CDC Grants Management Office ... and a response       The most important consideration before this Court when
was returned indicating that grant staff were also on leave.”);   determining a request for a preliminary injunction is whether
ECF No. 44-27 at ¶ 13 (discussing how “all but one member         the States have shown a substantial likelihood of success on



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the merits. Ryan v. U.S. Immigr. & Customs Enf't, 974 F.3d          Union of Concerned Scientists v. Wheeler, 954 F.3d 11, 19 (1st
9, 18 (1st Cir. 2020) (noting that the “movant's likelihood of      Cir. 2020) (citing 5 U.S.C. § 551 et seq. and 5 U.S.C. § 706(2);
success on the merits weighs most heavily in the preliminary        5 U.S.C. § 704). The reviewing court may hold unlawful and
injunction calculus”); see also New Commc'n Wireless Servs.,        set aside final agency action that is found to be arbitrary and
Inc. v. SprintCom, Inc., 287 F.3d 1, 9 (1st Cir. 2002) (holding     capricious or otherwise not in accordance with law. 5 U.S.C.
that likelihood of success on the merits is the “sine qua           § 706(2).
non” of the four-part preliminary injunction inquiry). To
meet this burden, plaintiffs “must show more than mere
possibility of success—rather, they must establish a strong
                                                                                        i. Final Agency Action
likelihood that they will ultimately prevail.” Fortuño, 699
F.3d at 10 (cleaned up). However, a “court's conclusions             *12 The Court must establish that the March 27
as to the merits of the issues presented on preliminary             Communiqué may properly be classified as final agency
injunction are to be understood as statements of probable           action, making it subject to this Court's jurisdiction pursuant
outcomes.” Narragansett Indian Tribe, 934 F.2d at 6. Thus,          to the APA. As a preliminary matter, the Court must determine
at the preliminary injunction phase, this Court “need not           that a party is targeting “its attack against some particular
conclusively determine the merits of the underlying claim.”         ‘agency action’ that causes it harm[,]” and is not “seeking
Ross-Simons of Warwick, 102 F.3d at 16.                             wholesale improvement of an administrative program by
                                                                    court decree, rather than in the offices of the agency or the
As previewed above, the States have argued that the March           halls of Congress, where programmatic improvements are
27 Communiqué violates the Administrative Procedure Act             normally made.” Lujan, 497 U.S. at 891. Agency action is
(“APA”), 5 U.S.C. § 706(2), “because it is arbitrary and            an expansive term, which practically covers nearly “every
capricious and contrary to law.” ECF No. 43 at 30 (citing 5         manner in which an agency may exercise its power.” Whitman
U.S.C. § 706(2)(A)); see also ECF No. 1 ¶¶ 333, 342, 356,           v. Am. Trucking Ass'ns, 531 U.S. 457, 478 (2001) (citation
357. The States also allege that the Communiqué is at odds          omitted). By definition, agency action can take many forms,
with the Separation of Powers and the Appropriations Clause,
                                                                    including a rule, 8 order, sanction, or the equivalent thereof.
rendering it unconstitutional. Id. And finally, the States insist
                                                                    5 U.S.C. § 551(13). The examination of whether an agency's
that the Communiqué is ultra vires because the Secretary
                                                                    action may be considered “final” hinges on two criteria. First,
operated without any constitutional or statutory authority to
                                                                    the action must “[mark] the ‘consummation’ of the agency's
“effectively incapacitate or transfer the Department's core
                                                                    decision making process,” meaning the agency has “rendered
statutory functions.” Id. So long as this Court finds one of the
                                                                    its last word on the matter.” Bennett v. Spear, 520 U.S. 154,
above counts as likely to succeed, it may grant a preliminary
                                                                    177 (1997) (citing Chicago & Southern Air Lines, Inc. v.
injunction. See, e.g., Woonasquatucket River Watershed
                                                                    Waterman S.S. Corp., 333 U.S. 103, 113 (1948)); Harrison
Council v. U.S. Dep't of Agric., No. 1:25-CV-00097-MSM-
                                                                    v. PPG Indus. Inc., 446 U.S. 578, 586 (1980). Second,
PAS, 2025 WL 1116157, at *10 (D.R.I. Apr. 15, 2025) (stating
                                                                    the agency action must determine rights or obligations or
plaintiffs need only show likelihood of success on the merits
                                                                    create legal consequences. Bennett, 520 U.S. at 178. The
on one claim); Nat'l Council of Nonprofits v. Off. of Mgmt. &
                                                                    Supreme Court frequently “[interprets] the finality element in
Budget, No. CV 25-239 (LLA), 2025 WL 597959, at *15 n.12
                                                                    a pragmatic way.” Abbott Labs. v. Gardner, 387 U.S. 136, 149
(D.D.C. Feb. 25, 2025) (same); Worthley v. Sch. Comm. of
                                                                    (1967).
Gloucester, 652 F. Supp. 3d 204, 215 (D. Mass. 2023) (same).
The Court will first turn its attention to whether the States
have demonstrated a likelihood of success on the merits of its
APA claims.                                                          Programmatic Improvements or Particular Agency Action

                                                                    The Defendants attack the States’ claims by asserting that
                                                                    judicial review in this case under the APA is improper because
           a. Administrative Procedure Act Claims                   the States are making a programmatic challenge instead of
                                                                    challenging a single, discrete action. ECF No. 52 at 27.
The APA enables judicial review of the “procedure and
                                                                    The Defendants claim the States are seeking “comprehensive
substance” of final agency decisions alleged to violate federal
                                                                    judicial review of a planned restructuring outlined by a
law for which “there is no other adequate remedy in a court.”
                                                                    press release, and their requested preliminary relief would


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freeze that eventual restructuring in its tracks as to CDC,        is “ongoing and evolving,” observing specifically that the
CTP, OHS and its regional offices, and ASPE.” Id. Invoking         Communiqué itself states that the Agency “will continue
Lujan, 497 U.S. at 899, they argue that the States are asking      to look for further ways to streamline its operations and
this Court to operate outside the bounds of the APA and            agencies.” Id. at 28-29. The States reply that potential future
perform a “general judicial review of [the agency's] day-to-       actions by HHS does not foreclose APA review of actions
day operations.” Id. at 26. In their defense, the States contend   already taken. ECF No. 54 at 20.
that HHS's reference to Lujan is misplaced. Unlike Lujan,
which involved a “variety of programmatic deficiencies” and         *13 The Court is satisfied that the March 27 Communiqué
an “attempt to seek wholesale programmatic improvements,”          meets the pragmatic and flexible finality standard for
the States say, in this case only the Communiqué is being          purposes of judicial review under the APA. See Bennett,
challenged as a single, discrete action, for which they are        520 U.S. at 177. The Communiqué amounted to an
seeking limited relief for a subset of that action. ECF No. 54     announcement, not a suggestion, of the Defendants’ plans
at 19 (quoting New York v. Trump, 133 F.4th 51, 67 (1st Cir.       to implement an absolute reorganization. The RIF notices
2025)).                                                            further underscored HHS's intentions to fulfill the plans
                                                                   announced in the Communiqué. Such an immediate and
This Court is not persuaded by the Defendants’ argument            sweeping termination of critical staff and the closure of
that the States are launching a programmatic challenge             divisions and offices surely marks the culmination of the
because the States are indeed challenging the discrete             Agency's decision to implement the Communiqué. The mere
March 27 Communiqué. It is this action that ushered                fact that additional cuts may also be implemented does not
in sweeping terminations and administrative leaves that            prevent this Court from reviewing the actions already taken.
essentially eviscerated many of the public health programs         The Defendants do not proclaim an intention to reverse all the
on which the States rely. Contrary to the Defendants’              mass terminations in the absence of judicial intervention, nor
assertions, the record does not indicate that the States are       do they suggest they will reinstate closed programs or offices
seeking “wholesale improvement” of a program, as was               or resuscitate transferred programs.
sought in Lujan. See 497 U.S. at 890-891. Remarkably,
the Defendants fail to explain why a communication that
foists mass terminations and is implemented to effectively
                                                                                        Legal Consequences
discontinue sub-agencies would not constitute a “discrete”
agency action.                                                     Regarding the second prong (that the agency action must
                                                                   determine rights or obligations or create legal consequences,
                                                                   Bennett, 520 U.S. at 177), the States maintain that the
        Consummation of Agency's Decision Making                   format of the Communiqué is irrelevant. Press release or
                                                                   not, they argue that the direct, immediate and negative legal
Moving to the first prong of the Bennett analysis, see 520         consequences resulting from the Communiqué are without
U.S. at 177, the States posit that the March 27 Communiqué         question. After its issuance, the States assert that the Agency's
is final agency action because it marked the consummation          “critical work ground to a halt,” ECF No. 43 at 31, as a result
of the Agency's decision making. ECF No. 43 at 31. They            of the RIFs issued to 10,000 employees swiftly following
observe that the Defendants began enforcing the tenets of the      the Communiqué’s publication. Conversely, the Defendants
Communiqué within days of its publication, issuing notices         maintain that the States have not experienced any “direct and
of termination and administrative leave to thousands of HHS        appreciable legal consequences.” ECF No. 52 at 29 (quoting
employees, which left many without access to their emails,         Cal. Cmtys, Against Toxins v. EPA, 934 F.3d 627, 638 (D.C.
laptops and offices. Id. at 13. They further note that Secretary   Cir. 2019)).
Kennedy himself referred to the Communiqué as “decisive
action” in Congressional hearings in May of this year. ECF         The States have demonstrated to this Court that clear legal
No. 54 at 20. In rebuttal, the Defendants highlight that the       consequences resulted from the issuance of the Communiqué.
March 27 Communiqué is titled “Press Release” and that             The States are unable to access previously available funds,
no court has considered a press release final agency action,       guidance, research, screenings, compliance oversight, data,
insisting that the Communiqué is tentative. ECF No. 52 at 29.      and, importantly, the expertise and guidance on which they
Accordingly, HHS asserts that the decision-making process          have long relied. HHS's decision to dismiss employees and



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shut down entire programs and offices further demonstrate           92, 98 (1st Cir. 2025) (noting that judicial review of agency
self-evident legal consequences. For example, in the case           is action is “narrow in scope”).
of NIOSH, the Agency issued RIFs or Intent-to-RIF letters
to nearly 90% of the sub-agency's employees. As a result,            *14 The States argue that the March 27 Communiqué
NIOSH occupational research programs and mine safety                is arbitrary and capricious because it was issued without
research programs have been effectively discontinued. Such          a rational basis and its justification rested on conclusory
an announcement, along with the swift actions taken by the          statements and unsupported evidence. ECF No. 43 at 31-36.
Defendants to execute the plans of the Communiqué clearly           The Defendants, they argue, did not engage in a “logical
marked the “consummation of the agency's decision making            and rational” decision-making process in issuing and carrying
process” which triggered legal consequences.                        out the Communiqué. Id. at 32 (quoting Allentown Mack
                                                                    Sales & Serv., Inc. v. N.L.R.B., 522 U.S. 359, 374 (1998)).
Overall, the Court concludes that the March 27 Communiqué           As a result, the States assert, the Defendants neglected to
constitutes final agency action. As such, this Court is satisfied   consider that “the sudden reorganization and elimination of a
that the States are challenging a single, discrete action and       large portion of HHS's workforce would cause immediate and
not seeking programmatic change, that the decision-making           significant disruption to agency operations and functions,”
process regarding that action is complete, and that the result      including those that are statutorily mandated. Id. at 33. In
of that action has already and will continue to directly affect     addition, contrary to the requirements of the APA, the States
the States. Next, the Court will engage in the APA analysis         assert, the Defendants did not assess the pros and cons
for setting aside final agency action that is arbitrary and         of its actions, including the “indirect costs associated with
capricious or contrary to law.                                      their purported cost-cutting measures.” Id. As examples, the
                                                                    States point to the closure of the viral hepatitis laboratory
                                                                    which will burden States to devise “alternative ways to
                                                                    replicate that laboratory's highly sophisticated system for
                 ii. Arbitrary and Capricious
                                                                    tracking Hepatitis C virus infections,” as well as to the
Final agency action may be set aside by the reviewing               States’ reliance “on many of Defendant's programs and
court as arbitrary and capricious if the “administrative record     services, such as testing for communicable diseases, data
reveals that ‘the agency relied on improper factors, failed to      on health outcomes, and standards for occupational health.”
consider pertinent aspects of the problem, offered a rationale      Id. at 33-34. Finally, the States stress that the Defendants
contradicting the evidence before it, or reached a conclusion       have not explained or demonstrated any nexus between the
so implausible that it cannot be attributed to a difference         restructuring announced in the Communiqué and meeting the
of opinion or the application of agency expertise.’ ” Atieh         Agency's goals of increased efficiency and “ending America's
v. Riordan, 727 F.3d 73, 75-76 (1st Cir. 2013) (quoting             epidemic of chronic illness, by focusing on safe, wholesome
Associated Fisheries v. Daley, 127 F.3d 104, 109 (1st Cir.          food, clean water, and the elimination of environmental
1997)); see also Motor Vehicle Mfrs. Ass'n v. State Farm            toxins.” Id. at 34-35. The States carefully note Secretary
Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). In essence, an         Kennedy's clear admission that a careful review of employee's
agency must precede its action with an assessment of relevant       job responsibilities before issuing RIFs did not take place
data and be prepared to explain the basis of such action            because doing so would “take too long” and would sacrifice
with a “rational connection between the facts found and the         “political momentum.” Id. at 12, 32; ECF No. 54 at 22.
choice made.” Motor Vehicle Mfrs. Ass'n, 463 U.S. at 43
(citing Burlington Truck Lines, Inc. v. United States, 371 U.S.     The Defendants counter that the Communiqué is indeed
156, 168 (1962)). The “reasoned explanation requirement ...         based on a “cost-benefit analysis,” arguing that the States
is meant to ensure that agencies offer genuine justifications       “overlook the cost-saving value of actions like consolidating
for important decisions, reasons that can be scrutinized by         redundant departments.” ECF No. 52 at 34. They emphasize
courts and the interested public.” DOC v. New York, 588 U.S.        that HHS has “broad discretion to choose how to marshal
752, 785 (2019). A “court may not substitute its own policy         its limited resources and personnel to carry out its
judgement for that of the agency,” but instead, must ensure         delegated responsibilities,” including implementing RIFs and
that the “agency has acted within a zone of reasonableness.”        restructuring the sub-agencies. Id. (quoting Scarborough
FCC v. Prometheus Radio Project, 592 U.S. 414, 423 (2021);          Citizens Protecting Res. v. United States Fish & Wildlife Serv.,
but see California v. United States Dep't of Educ., 132 F.4th       674 F.3d 97, 100 (1st Cir. 2012)). If the Court disagrees, the



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Defendants suggest the “proper course” would be to “remand         law (see discussion below), remand for further explanation
to the [Department] for additional ... explanation.” Id. at 35     is not appropriate in this case. See McMahon, 2025 WL
(quoting Florida Power & Light Co. v. Lorion, 470 U.S. 729,        1463009, at *28; see also Florida Power & Light Co., 470
744 (1985)).                                                       U.S. at 744 (holding that remand is the “proper course,
                                                                   except in rare circumstances” when the agency's actions are
When looking to HHS's explanation for its action, the Court        held arbitrary and capricious for an inadequate explanation).
must look to “the grounds that the agency invoked when             Thus, the States have established a likelihood of success on
it took the action.” Michigan v. EPA, 576 U.S. 743, 758            demonstrating that the Defendants unreasonably exercised
(2015). Review of the lone declaration provided by the             their discretion, in violation of the APA.
Defendants, the March 27 Communiqué, and the various
testimonies of Secretary Kennedy has not revealed a reasoned
explanation for the agency action by the Defendants. Instead
                                                                                       iii. Contrary to Law
of undertaking an intentional and thoughtful process for
weighing the benefits and drawbacks of implementing the
sweeping policy change, the Defendants hastily restructured                  1. Congressionally Mandated Functions
the sub-agencies and issued RIF notices. The Defendants
have failed to demonstrate how the workforce terminations           *15 The Court now shifts to the States’ APA-based claim
and restructurings made the sub-agencies more efficient,           that HHS acted contrary to law. The APA instructs a reviewing
saved taxpayer dollars, or aligned with HHS's priority of          court to “hold unlawful and set aside” agency actions that are
“ending America's epidemic of chronic illness, by focusing         contrary to any law, “not merely those laws that the agency
on safe, wholesome food, clean water, and the elimination of       itself is charged with administering.” 5 U.S.C. § 706(2)(A);
environmental toxins.” ECF No. 44-1 at 3. In fact, the record      FCC v. NextWave Pers. Commc'ns Inc., 537 U.S. 293, 300
is completely devoid of any evidence that the Defendants           (2003). “An agency may not confer power upon itself,”
have performed any research on the repercussions of issuing        but instead must operate within the bounds “authoritatively
and executing the plans announced in the Communiqué.               prescribed by Congress.” La. Pub. Serv. Comm'n v. FCC, 476
Without a modicum of evidence to the contrary, the record          U.S. 355, 374 (1986); City of Arlington v. FCC, 569 U.S. 290,
shows that the Defendants did not consider the “substantial        297 (2013).
harms and reliance interests” of the States and the devastating
consequences that would be felt by the populations served          The “statutory scheme governing federal appropriations
by these critical public health programs. See New York v.          are at the forefront of the States’ contrary to law claims
McMahon, 2025 WL 1463009, at *60 (citing Michigan v.               against the Agency Defendants.” New York, 769 F. Supp.
E.P.A., 576 U.S. at 753). The States and their local agencies      3d at 137-38. The States allege that the “mass terminations
that rely on these programs had no reason to suspect that          and reorganization of the Department [of HHS] under
they would be abruptly wiped clean of all personnel and            the [Communiqué] make it functionally impossible for the
rendered unable to fulfill their statutorily mandated functions.   Department [of HHS] to comply with its obligations under
Unable to perceive any rational basis for the Agency's actions,    numerous federal statutes.” ECF No. 43 at 36. They present
the Court concludes that HHS's actions in implementing the         numerous instances in which the Communiqué conflicts with
March 27 Communiqué were both arbitrary and capricious.            statutory mandates of HHS's sub-agencies. The States claim
                                                                   as follows.
The Defendant's suggestion that this Court remand the agency
action to HHS for a comprehensive explanation is without
merit. A reviewing court has discretion to take any steps                   NIOSH's Occupational Safety Research 9
it deems necessary to prevent irreparable injury before a
final judgment is reached. See 5 U.S.C. § 705 (“To prevent         Several Congressional statutes command the work of NIOSH.
irreparable injury, the reviewing court ... may issue all          The Occupational Safety and Health Act, 29 U.S.C. §§ 669(a),
necessary and appropriate process to postpone the effective        671(c)(2), mandates NIOSH to conduct occupational safety
date of an agency action or to preserve status or rights pending   and health research and the Mine Improvement and the
conclusion of the review proceedings.”). Because this Court        New Emergency Response Act of 2006, 29 U.S.C. § 671(h)
finds that it is also likely that Defendants acted contrary to     (3), directs NIOSH to promote “research, development, and



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testing of new technologies and equipment designed to                 *16 The States assert that the Lead Contamination Control
enhance mine safety and health.” See also 30 U.S.C. §§               Act of 1988, 42 U.S.C. §§ 247b-3, 10, directed HHS and the
937(b), 951(a)-(b) (requiring NIOSH to conduct research on           CDC to work on the prevention of lead poisoning and asthma
mine worker health and mine safety); ECF No. 54 at 23. The           control through the National Center for Environmental
States allege that, as a result of the Communiqué, NIOSH's           Health's (“NCEH”) data collection, surveillance, publication,
occupational research programs remain largely shuttered. Id.         collaborative efforts, education, and technology assessment.
They claim NIOSH's mine safety research divisions that               Id. Since the Communiqué, the States allege that nearly
operate out of Spokane and Pittsburgh have been eliminated           everyone at NCEH supporting the statutory work has been
as there are no employees to conduct such research. Id.              laid off and no one remains to carry out the congressionally
                                                                     mandated functions. Id.


           CDC National Center on Birth Defects
             and Developmental Disabilities                                 Reproductive and Maternal Health Programs

The Children's Health Act of 2000, 42 U.S.C. §§ 247b-4a(a)           Congress has mandated HHS to “continue a federal initiative
(1-2), (d)(1), mandates this Center to “make awards of grants        to support State and tribal maternal mortality review
or cooperative agreements to provide technical assistance to         committees,” and “to improve data collection and reporting
State agencies to complement an intramural program and               around maternal mortality.” 42 U.S.C. § 247b-12(a)(1)-(a)(2).
to conduct applied research related to newborn and infant            The States allege the Communiqué generated the demolition
hearing screening, evaluation and intervention programs and          of the PRAMS team, which completed data collection efforts
systems.” ECF No. 54 at 24. The States allege that the               and provided support for state programs. ECF No. 54 at 25.
Communiqué precipitated the elimination of the entire Early
Hearing Detection and Intervention team at this Center. Id.
Grantees of the States are now being told that future grant
applications are “on hold” and the “typical functions of                        HIV and STD Prevention Program 11
project officers, health data scientists and evaluation scientists
                                                                     The States also claim that 42 U.S.C. §§ 300ee-4; ee-11;
are not occurring.” Id.
                                                                     ee-31 direct HHS to undertake a range of programs targeting
                                                                     the prevention of HIV/AIDS, including providing technical
                                                                     assistance, administering grants to States, and implementing
             FDA's Center for Tobacco Products                       public awareness campaigns. They lament that since the
                                                                     Communiqué issued, all work previously conducted by
The Family Smoking Prevention and Tobacco Control Act,               CDC's National Center for HIV, Viral Hepatitis, STD, and
21 U.S.C.§ 387(a), et seq., established the CTP as a vehicle         Tuberculosis Prevention has been halted. Id. at 25-26.
for the FDA to regulate tobacco products. As a result of the
Communiqué and its ensuing terminations and restructurings,
no employees remain to support contract acquisitions and
monitor payroll in the office responsible for tracking tobacco                       Federal Poverty Guidelines
user fees, the main funding stream for the CTP. ECF No.
                                                                     HHS has been directed to annually revise the Federal Poverty
54 at 24. The States also claim the RIFs eliminated entire
                                                                     Guidelines. 42 U.S.C. § 9902(2). The States contend that the
teams responsible for health communication and education
                                                                     guidelines’ information on the ASPE website is not currently
projects, including “The Real Cost” campaign, a national
                                                                     being updated. Id. at 26.
tobacco prevention advertising campaign, leaving that work
abandoned. Id. at 25.
                                                                                                  ***

                                                                     In response to these allegations, the Defendants aver that
                 Lead Poisoning Programs 10                          HHS is still willing and able to comply with all its statutory
                                                                     obligations. ECF No. 52 at 35-36. To signal such intentions,
                                                                     they note that over three hundred RIFs have been recalled



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for NIOSH employees. Id. at 36. In addition, they assert that     whether to cut programs for taxpayer savings.” ECF No.
the closure of “some regional offices” does not automatically     43 at 45 (citing AIDS Vaccine Advocacy Coalition v. U.S.
“prevent the [Agency] from providing services.” Id. at 36.        Dep't of State, 770 F. Supp. 3d 121, 147-48 (D.D.C. 2025)).
Furthermore, the Defendants argue, the States allege statutory    The Defendants protest that HHS has not refused to “spend
violations either where no obligations exist, as in the case      appropriated funds on statutorily mandated programs, and
of Head Start, or where HHS has already fulfilled its             [that] saving taxpayer money by consolidating functions and
obligations, noting that the annual revision of the Federal       reducing personnel redundancy is not inherently inconsistent
Poverty Guidelines has already been completed for 2025. Id.       with spending appropriated funds.” ECF No. 52 at 36. They
at 10, 36.                                                        contend that the States’ claims are premature, as not “enough
                                                                  time [has elapsed] to diagnose a failure to spend prescribed
The States dismiss the notion that the reinstatements of          money.” Id. Ultimately, they rely on Lincoln v. Vigil, 508 U.S.
some NIOSH employees ameliorate the harm caused by                182 (1993) (in which the Supreme Court held the decision
HHS's action. They argue that “despite the Secretary's            to discontinue the Indian Children's Program by the Indian
recent purported May 13, 2025, reinstatements of some             Health Service agency was ‘committed to agency discretion
employees, NIOSH's research laboratories and divisions            by law’ pursuant to the APA because it pertained to the
remain shuttered” leaving the department “unable to fulfill its   allocation of funds from a lump-sum appropriation and was
statutory responsibilities as an occupational health research     within the permissible statutory objectives), to argue that
institute.” ECF No. 54 at 23. They remark that the ASPE           HHS has “unreviewable discretion to make choices on how
has announced on its website that the “ ‘information’ on its      the appropriations are spent.” Id. at 184. ECF No. 52 at 37
website (including the Federal Poverty Guidelines page) is        (citing Lincoln, 508 U.S. at 192). But according to the States,
‘not being updated currently’ ” and express concern regarding     “the unrebutted record shows that Congress has appropriated
the integrity of future calculations. Id. at 26.                  billions of dollars that Defendants will be unable to spend,
                                                                  [due to the Communiqué], including over $190 million to
 *17 Here, the Court finds that the Communiqué contravenes        CDC's National Center for Environmental Health, over $50
congressional directives and statutory law. The States have       million dedicated to addressing childhood lead poisoning, and
presented copious clear examples in which Congress has            nearly $1.2 billion to the CDC center that oversees the Office
appropriated funds to the federal programs and outlined how       on Smoking and Health and the Division of Reproductive
those funds are to be used. 12 The Defendants, on the other       Health.” ECF No. 54 at 26. The States contrast Lincoln,
hand, have yet to proffer any evidence demonstrating that the     noting that here, unlike in Lincoln, “Congress has [expressly]
planned terminations would not decimate the Congressionally       appropriated funds for the subagencies and centers that the
created sub-agencies or inhibit them from fulfilling their        March 27 [Communiqué] effectively ended.” Id. at 27.
mandates. The catastrophic effects documented by the States
illuminate that reality. In the Court's view, the States have      *18 Defendants have not persuaded this Court that the
substantiated that HHS is already unable to fulfill many of its   Secretary's authority is “so broad that [he] can unilaterally
statutory functions in light of the Communiqué. Given that the    dismantle a department by firing nearly the entire staff,
Communiqué is for all intent and purpose dismantling critical,    or that [his] discretion permits [him] to make a ‘shell’
statutorily mandated functions of the Agency, this Court finds    department.” McMahon, 2025 WL 1463009, at *28. Plaintiffs
that it is contrary to law.                                       have the better argument here. Lincoln held that “an agency
                                                                  is not free simply to disregard statutory responsibilities:
                                                                  Congress may always circumscribe agency discretion to
                                                                  allocate resources by putting restrictions in the operative
       2. Congressionally Mandated Appropriations                 statutes.” Lincoln, 508 U.S. at 193 (labeling an action
                                                                  unreviewable because Congress granted the agency discretion
The parties further dispute whether the Communiqué
                                                                  for how to spend the lump sum). In the case at hand,
telegraphs HHS's decision not to spend congressionally
                                                                  Congress directed HHS to maintain specific initiatives with
appropriated funds. The States assert that the Defendants
                                                                  the support of the Congressional appropriations pursuant
“usurp[ed] Congress’ power of the purse by disregarding
                                                                  to the applicable statutes. HHS cannot decide for itself
congressional appropriations” when it announced layoffs and
                                                                  whether it has exceeded its statutory authority because there
reorganization which would “save taxpayers $1.8 billion
                                                                  are Congressional statutes in place to serve as guardrails
per year,” as “it is Congress who must make the decision


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to the Agency's actions. See California v. U.S. Dep't of
Educ., 132 F.4th 92, 97-98 (1st Cir. 2025) opinion stayed        The Court already determined that the States have a concrete
on other grounds, (explaining that “applicable regulations       injury to establish Article III standing but will now explain
cabin the [agency's] discretion as to when it can terminate      why those injuries constitute irreparable harm for the
existing grants” which provide the Court with a meaningful       purposes of the preliminary injunction analysis. Two very
framework to judge the agency's action). The Defendants’         recent decisions guide this Court's discussion. In a similar
efforts to portray the Communiqué and its whiplash as a          case involving RIFs issued to Department of Education
matter of agency discretion despite the snub of Congressional    employees, the First Circuit recently denied the federal
mandates is without merit. An examination of the relevant        government's motion to stay the district court's decision
statutes supports the conclusion that Congress never meant to    to grant a preliminary injunction, preventing the federal
confer HHS the power to self-destruct. See W. Virginia v. EPA,   government from moving forward with RIFs. Somerville Pub.
597 U.S. 697, 721 (2022) (holding that “[w]here the statute      Schools, 139 F.4th at 76. The Court agreed that the District
at issue is one that confers authority upon an administrative    Court record “sufficed to support the plaintiffs’ contention
agency, that inquiry must be shaped, at least in some measure,   that the disabling of the Department's statutorily assigned
by the nature of the question presented – whether Congress       functions caused by the challenged actions would jeopardize
in fact meant to confer the power the agency has asserted”).     their ability to proceed with their programs.” Id. at 75.
The Defendants here have failed to submit any evidence that      This harm was more compelling and irreparable than the
HHS can meet its Congressional orders without applying the       government's asserted harm of “not be[ing] able to recoup
federal appropriations and employing the essential staff and     those expenditures.” Id.
experts who run its programs.
                                                                  *19 Prior to the First Circuit issuing its opinion affirming
Consequently, this Court concludes that the Defendants           the denial of a stay in Somerville Pub. Schools, a colleague in
usurped Congressional power to manage the public health          this Court issued an injunction where the States “presented a
appropriations at stake and that the States are likely to        plethora of declarations illustrating ... myriad ... harms arising
succeed on their “contrary to law” claims. 13 The Court          from the undoing of [the agency].” Rhode Island v. Trump,
need not go further and decided the Plaintiffs’ additional       No. 1:25-cv-128, 2025 WL 1303868, at *15 (D.R.I. May 6,
claims. See Vaquería Tres Monjitas, Inc. v. Pagan, 748 F.3d      2025). The harms in that case included the loss of data, delays
21, 26 (1st Cir. 2014) (noting that “federal courts are not      in funding leading to a hiring freeze and stopping services,
to reach constitutional issues where alternative grounds for     loss of mediation services to resolve public sector labor
resolution are available” (quoting Am. Civil Liberties Union     disputes, delays in services and programs, loss of access to
v. U.S. Conference of Cath. Bishops, 705 F.3d 44, 52 (1st Cir.   federal resources, and loss of federal services and assistance.
2013))). The Court now turns to whether the Plaintiffs satisfy   Id. at *15-17. The Court found “the implementation of the
the other requirements for injunctive relief.                    [Executive Order] at [the agencies] ha[d] disrupted numerous
                                                                 critical state” resources and programs. Id. at *17.

                                                                 Here, the States go into detail about the substantial harm
                    2. Irreparable Harm                          that they are facing from the Communiqué’s application to
                                                                 CDC lab services, DRH, NIOSH, OSH/CTP, OHS, federal
The next step in the injunction inquiry is whether the States
                                                                 poverty guidelines, NCEH, and the National Center for Birth
are “likely to suffer irreparable harm in the absence of
                                                                 Defects and Disabilities. See generally ECF No. 43 at 46-60.
preliminary relief.” Winter, 555 U.S. at 20. To guide this
                                                                 The Defendants argue that the States will not face irreparable
analysis, the Court looks to whether the States have suffered
                                                                 harm because the injuries “are not sufficiently concrete or
“a substantial injury that is not accurately measurable or
                                                                 imminent to establish,” that the injury “is readily measurable
adequately compensable by money damages.” Ross-Simons
                                                                 in monetary terms and compensable by final judgment,” and
of Warwick, Inc., 102 F.3d at 19. The States must show that
                                                                 the fact that the States waited “over a month to seek injunctive
“irreparable injury is likely,” Winter, 555 U.S. at 22, and
it “must be grounded on something more than conjecture,          relief.” 14 ECF No. 52 at 39-40.
surmise, or a party's unsubstantiated fears of what the future
may have in store,” Charlesbank Equity Fund II v. Blinds To      Following Somerville Pub. Schools and Rhode Island, this
Go, Inc., 370 F.3d 151, 162 (1st Cir. 2004).                     Court finds the March 27 Communiqué and RIF of nearly



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10,000 HHS employees has launched several HHS programs              see also ECF No 44-52 at ¶¶ 42-45 (describing the effect
into a rapid freefall away from their statutory obligations,        RIFs have had on Education and Research Centers throughout
thereby irreparably harming the States.                             California).

The Court also rejects Defendants’ assertions that the              These harms, all of which are undisputed by HHS, are
States’ injuries “are not sufficiently concrete or imminent         concrete examples of the many irreparable harms the States
to establish,” and that the injury “is readily measurable in        are currently, and will continue, to experience because of
monetary terms and compensable by final judgment.” Id. at           the March 27 Communiqué. Critical public health services
39-40. At the CDC, for example, laboratories have shuttered         have been interrupted, databases taken offline, status of grants
which has resulted in States seeking out commercial labs            thrown into chaos, technical assistance services gone, and
for testing. ECF No. 44-23 at ¶ 18. This in and of itself is        training and consultation services curtailed. These are not
not the problem. The problem is that these commercial labs          unsubstantiated fears. See Winter, 555 U.S. at 22. Further,
do not have the same mandates as CDC which will impact              none of these harms can be compensated by money damages.
the States’ ability to compare and track results, potentially       Ross-Simons of Warwick, 102 F.3d at 19. The Court finds that
leading to outbreaks involving multiple jurisdictions. Id.;         the States have established irreparable harm stemming from
ECF No. 44-22 at ¶¶ 17-18; ECF No. 44-59 at ¶ 10. The               the Communiqué.
shuttering of labs has also hampered New York's Wadsworth
Center which has tried to fill the gaps but is feeling the strain
on its resources. ECF No. 44-20 at ¶ 35. The States “are
                                                                             3. Balance of the Equities & Public Interest
investing time, money and other resources in changes to their
state programs due to the closure and reduction of CDC's            The last two factors for the Court to consider, balance of the
laboratory resources.” ECF No. 43 at 48.                            equities and public interest, merge because the Government
                                                                    is the opposing party. Nken, 556 U.S. at 435; Mills, 16 F.4th at
DRH has also experienced irreparable harm related to the loss       37. These factors require the Court to “balance the competing
of CDC support for the PRAMS program. PRAMS historical              claims of injury and must consider the effect on each party of
data is offline, states have not received weighted 2024 birth       the granting or withholding of the requested relief ... pay[ing]
year data from CDC, and 2024 birth year data collection             particular regard for the public consequences” resulting from
ended early. States no longer have access to “scientific,           granting the relief sought. Winter, 555 U.S. at 24.
technical, and information technology assistance resources”
provided by CDC, ECF No. 44-25 at ¶ 24, and lack clear              HHS argues that “[g]ranting a preliminary injunction would
guidance on data collection for birth year 2025. ECF No.            disrupt the Department's efforts to comply with the Workforce
44-25 at ¶ 24; ECF No. 44-24 at ¶ 15; ECF No. 44-28 at ¶¶           Executive Order and Workforce Memorandum” – both
19-21; ECF No. 44-26 at ¶ 17; ECF No. 44-27 at ¶ 5; ECF No.         directives from the executive branch. ECF No. 52 at 40.
44-29 at ¶¶ 12-13; ECF No. 44-50 at ¶ 11; ECF No. 44-51 at          They go on to say that the States’ “requested relief would
¶¶ 26-33; ECF No. 44-59 at ¶ 29. Without the PRAMS data             hamstring the Department and force it to operate as if a
and CDC expertise, the States “no longer have the ability to        new administration was never elected.” Id. at 41. However,
monitor health outcomes and goals without creating their own        this Court Order and the harm suffered by the States have
pregnancy outcome monitoring systems, which would take              nothing to do with the new administration's priorities, but
at least a year to accomplish, would be cost prohibitive, and       rather focuses on HHS failing to carry out its congressionally
would be incapable of replicating PRAMS’ weighted national          mandated duties and obligations. HHS has failed to produce a
dataset in any event.” ECF No. 43 at 49; ECF No. 44-27 at ¶¶        shred of evidence that services to States and access to critical
5-6; ECF No. 44-29 at ¶¶ 17-19.                                     information would continue uninterrupted, that the harms are
                                                                    minimal or not irreparable, or that it is authorized to act absent
 *20 The Communiqué has also irreparably harmed NIOSH,              Congressional action. Compare that absence of evidence to
which has lost a majority of its staff, leading to a “pause         the over seventy declarations submitted by the States which
on all NIOSH activities.” ECF No. 44-31 at ¶ 18, Ex. 2.             assert many harms to various State public health agencies
Education and research centers face imminent closure, like          and programs. When balancing the equities and the public
“Washington's Northwest Center for Occupational Health and          interest, this Court has no trouble finding that both factors
Safety,” which loses its funding in June. Id. at ¶¶ 11-30;          weigh heavily in favor of maintaining the status quo and



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issuing a preliminary injunction. See Woonasquatucket, 2025        2025 WL 1773631 (June 27, 2025), impacts the scope of this
WL 1116157, at *23-24.                                             Order.

                                                                   V. Bond
IV. Scope of Remedy and Order                                      Rule 65(c) of the Federal Rules of Civil Procedure
The States are asking this Court “to enjoin the mass               contemplates that the party moving for a preliminary
terminations and restructurings resulting from the March 27”       injunction “gives security in an amount that the court
Communiqué at the CDC, the FDA's CTP, the Head Start               considers proper to pay the costs and damages sustained
Offices, and the Office of the ASPE. ECF No. 43 at 10. The         by any party found to have been wrongfully enjoined or
agency asks the Court to limit any injunctive relief to “address   restrained.” The States request that the Court waive security
any information or services to which it determines [the States]    in this case, pointing out that the courts have long recognized
have established an entitlement,” which is to say, the agency      this provision as a discretionary call for the district court to
asks the Court to do its job. ECF No. 52 at 41-42.                 make. ECF No. 43 at 55-56. HHS does not dispute the court's
                                                                   discretion on this point but asserts that, because the States
After careful consideration of the States’ Motion for a            are attempting to halt a discretionary agency undertaking in
Preliminary Injunction, and for the reasons discussed in this      order to avoid devoting more state resources to “providing
Memorandum, the Court hereby orders that:                          services to their constituents,” “they should have skin in the
                                                                   game.” ECF No. 52 at 42. The Defendants suggest the bond
                                                                   be “commensurate with the scope of the injunction” and
*21 1. The States’ Motion for a Preliminary Injunction (ECF        “take into account that the relief requested by [the States]
No. 43) is GRANTED;                                                will hinder” the agency's ability to reorganize pursuant to the
                                                                   President's policies.” Id. In the Court's opinion, the States and
2. HHS and all other named defendants are ENJOINED
                                                                   their constituents have plenty on the line in this litigation. The
from taking any actions to implement or enforce the planned
                                                                   Court imposes a nominal bond of $100.
RIFs or sub-agency restructuring announced in the March
27 Communiqué or set in motion after the Communiqué’s
release with respect to the specific sub-agencies and programs     VI. Stay
that are the subject of the instant motion for preliminary         The Defendants are requesting that the Court stay the
injunction, until further order of this Court. The actions         injunctive relief pending any appeal they may file. ECF No.
enjoined by this order include but are not limited to:             52 at 43. The States assert that a stay would be inappropriate
                                                                   in this case given “the specific, concrete, documented harms”
(a) any further execution of any existing RIF notices
                                                                   to them. ECF No. 54 at 24. HHS's request is, as the States
(including final separation for any employees previously
                                                                   point out, premature. However, because HHS is already
notified of impending termination);
                                                                   enjoined, as of the entering of this Order, from moving
(b) issuance of any further RIF notices; and                       forward with its reorganization plans, including finalizing the
                                                                   employee terminations, see Am. Fed'n of Gov't Emps., 2025
(c) placement of additional employees on administrative            WL 1482511, at *27, the Court will preemptively deny the
leave.                                                             agency's request for a stay.

3. This Order shall apply to the maximum extent provided for
by Federal Rule of Civil Procedure 65(d)(2) and 5 U.S.C. §§        VII. CONCLUSION
705 and 706.                                                        *22 Circling back to the separation of powers principles
                                                                   covered earlier in this decision, the Executive Branch is
4. The Defendants shall file a status report on or before July
                                                                   vested with the power and is imbued with the responsibility
11, 2025 at 5:00pm EST, apprising the Court of the status of
                                                                   to faithfully execute the laws which govern the governance
their compliance with this Order and providing a copy of all
                                                                   structure of our country. The Executive Branch does not
directives that Defendants provided pursuant to this Order.
                                                                   have the authority to order, organize, or implement wholesale
5. The parties shall file a notice with the Court on or before     changes to the structure and function of the agencies created
                                                                   by Congress. As Judge Smith in this district court recently
July 11, 2025, addressing the way in which (if at all) Trump v.
                                                                   warned when presented with the declining depth of civics
CASA, Inc., Nos. 24A884, 24A885, 24A886, ––– S. Ct. ––––,


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education in public schools, “we may choose to survive as a
country by respecting our Constitution, the laws and norms       IT IS SO ORDERED.
of political and civic behavior, and by educating our children
on civics, the rule of law, and what it really means to be an    All Citations
American, and what America means. Or, we may ignore these
things at our and their peril.” A.C. v. Raimondo, 494 F. Supp.   --- F.Supp.3d ----, 2025 WL 1803260
3d 170, 181 (D.R.I. 2020), aff'd sub nom. A.C. by Waithe v.
McKee, 23 F.4th 37 (1st Cir. 2022).




                                                         Footnotes


1      The Court uses “sub-agency” and “sub-agencies” to refer to all the entities that fall within HHS's organizational
       structure, including but not limited to departments, offices, divisions, programs, etc.

2      The Safe Motherhood program is governed by 42 U.S.C. § 247b-12(a)(1), which provides “[th]e purposes of
       this subsection are to establish or continue a Federal initiative to support State and tribal maternal mortality
       review committees, to improve data collection and reporting around maternal mortality, and to develop or
       support surveillance systems at the local, State, and national level to better understand the burden of maternal
       complications and mortality and to decrease the disparities among populations at risk of death and severe
       complications from pregnancy.”

3      42 U.S.C. § 9837.

4      42 U.S.C. § 9902(2).

5      Importantly, the Court notes that the 2025 federal poverty guidelines have been updated and are available on
       the ASPE webpage. https://perma.cc/J2FS-NMUE. HHS amplifies this point by arguing that the guidelines
       have been updated for 2025 and “updating the webpage is not required at any given time as long as the
       statute's annual deadline [see 42 U.S.C. § 9902(2)] is met.” ECF No. 52 at 14-15.

6      The Defendants argue that the States would “at most have standing to seek provision of such information or
       services—not an order requiring the Department to provide it in a particular fashion or with particular staff.”
       ECF No. 52 at 19. However, the Defendants have not provided the Court with any indication about how HHS
       plans to carry on providing services and information to the States during the restructuring mentioned in the
       March 27 Communiqué.

7      Even though this case was initially briefed and argued before the district court's and First Circuit's decisions
       in Somerville Pub. Schools, the Court notes that HHS has not filed a notice of supplemental authority or
       supplemental brief attempting to distinguish this case from Somerville Pub. Schools. Meanwhile the States
       filed notices of supplemental authority (ECF Nos. 59 and 68) when both the district court and First Circuit
       opinions were issued.

8      The United States Code defines “rule” as the “whole or a part of an agency statement of general or particular
       applicability and future effect designed to implement, interpret, or prescribe law or policy or describing the
       organization, procedure, or practice requirements of an agency and includes the approval or prescription
       for the future of rates, wages, corporate or financial structures or reorganizations thereof, prices, facilities,
       appliances, services or allowances therefor or of valuations, costs, or accounting, or practices bearing on
       any of the foregoing.” 5 U.S.C. § 551.



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9      RIFs issued to NIOSH employees were later rescinded by the Agency and will be considered further below.

10     The Agency rescinded RIFs issued to some NCEH employees on June 16, 2025. According to the agency,
       the reinstated employees in NCEH's Lead Poisoning Prevention and Surveillance Branch will “assist in
       restoring functionality to the Childhood Lead Poisoning Prevention Program” in the areas of program services,
       epidemiology and surveillance, and guidance and recommendations. ECF No. 70-1 at 4.

11     On June 16, 2025, the Agency rescinded RIFs issued to some employees of the National Center for HIV, Viral
       Hepatitis, STD, and TB Prevention (“NCHHSTP”). According to the Defendants, employees subject to the
       RIF recissions issued from the NCHHSTP Laboratory Branch and STD Laboratory Reference and Research
       Branch will assist in restoring the functionality of the Viral Hepatitis Laboratory, which supports outbreak
       investigations. Employees in the Behavioral and Clinical Surveillance Branch will restore the HIV Medical
       Monitoring Project, which provides information on the quality of life for people living with HIV. And finally,
       those recalled employees of the Disease Intervention and Response Branch will assist in restoring support
       for state health departments in investigating and responding to outbreaks of sexually transmitted infections.
       ECF No. 70-1 at 4-5.

12     The Court recognizes the Defendants’ position that the Congressional statutes governing Head Start make
       site visits discretionary and so the failure to perform site visits is not necessarily in contravention to the law
       governing management of the programs. As for the allegation that HHS has violated its obligation to update
       the Federal Poverty Guidelines, the Court acknowledges some data has been updated but is troubled by
       the inactivity of the ASPE website in light of the requirements of 42 U.S.C. § 9902(2) to perform ongoing
       comprehensive calculations, including an analysis of the Census Bureau poverty thresholds with the relevant
       percentage change in the Consumer Price Index for All Urban Consumers, consideration of inflation rate,
       and rounding and standardizing adjustments. https://perma.cc/LV38-9VEE; see also Federal Register Vol.
       87, No. 14, Friday, January 21, 2022, https://perma.cc/6VCU-W734.

13     The Defendants attempt to characterize the States’ request for relief as actually a claim pursuant to 5 U.S.C.
       § 706(1). But the States claims are clearly alleged under § 706(2). The States do not seek to compel agency
       action withheld or delayed, pursuant to 5 U.S.C. § 706(1). As Plaintiffs eloquently state, “the fact that agencies
       have stopped acting is a consequence of the March 27 [Communiqué], but it is not the agency inaction that
       the Plaintiffs seek to remedy.” ECF No. 54 at 21.

14     The Court can dismiss the delay in filing argument right off the bat. The Communiqué was issued on March
       27, the RIFs occurred on April 1, ECF 52-1 at ¶ 2, and the States filed this case on May 5, 2025. It was
       completely reasonable for the States to wait until the harms, described in the nearly 70 declarations, were
       realized. The Court disagrees with the Defendants’ statement that “the delay further undermines their claims
       that they are suffering irreparable harm.” ECF No. 52 at 40.



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